                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE

GRAMERCY INSURANCE COMPANY                   )
5000 Quorum Drive, Suite 111                 )
Dallas, TX 75254                             )      Civil Action No. 3:12-CV-0509
                                             )
        Plaintiff,                           )      JUDGE HAYNES
                                             )
v.                                           )
                                             )
EXPEDITOR’S EXPRESS, INC.                    )
P.O. Box 79                                  )
Madison, TN 37116                            )
                                             )
and                                          )
                                             )
JOHN TULLIS                                  )
616 Kinsey Boulevard                         )
Madison, TN 37115                            )
                                             )
and                                          )
                                             )
WILLIAM LITTLEFIELD                          )
d/b/a LITTLEFIELD BROTHERS,                  )
a sole proprietorship                        )
242 West Main Street, #387                   )
Hendersonville, TN 37075                     )
                                             )
and                                          )
                                             )
SHIRLEY A. BROWN, Administrator of           )
Estate of DONALD D. UNDERWOOD                )
169 N. Imperial Drive                        )
Denison, TX 75020                            )
                                             )
        Defendants.                          )


                                    NOTICE OF APPEAL


        Notice is hereby given that Defendant, Shirley A. Brown, Administrator of the Estate of

Donald D. Underwood, hereby appeals to the United States Court of Appeals for the Sixth




      Case 3:12-cv-00509 Document 38 Filed 08/14/13 Page 1 of 2 PageID #: 409
Circuit from the Order granting Plaintiff’s Motion for Judgment on the Pleadings entered in this

action on the 16th day of July, 2013.



                                                     Respectfully submitted,

                                                     GRACE E. DANIELL, P.C.


                                                     BY: /s/ Grace E. Daniell_____________
                                                             Grace E. Daniell, BPR # 012045
                                                             Attorney for Defendant,
                                                               Shirley A. Brown
                                                             620 Lindsay St., Suite 210
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 14, 2013, the foregoing was filed electronically with the
Clerk of the Court to be served by operation of the Court’s electronic filing system upon the
following:

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                                                     /s/ Grace E. Daniell
                                                     Grace E. Daniell


                                     2
    Case 3:12-cv-00509 Document 38 Filed 08/14/13 Page 2 of 2 PageID #: 410
